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                                UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF VIRGINIA
                                     Charlottesville Division

IRA D. SOCOL,                        )
                                     )
                Plaintiff            )
                                     )       Case No.: 3:18cv00090
v.                                   )
                                     )
ALBEMARLE COUNTY                     )
SCHOOL BOARD, et al.                 )
                                     )
                Defendants.          )

                             NOTICE OF SUBPOENA DUCES TECUM

         PLEASE TAKE NOTICE that, pursuant to Rule 45 of the Federal Rules of Civil

Procedure, the defendant issued a subpoena duces tecum this 19th day of October, 2020, to the

following:

                Dr. Pamela R. Moran
                4900 Turkey Sag Road
                Keswick, VA 22947

         The subpoena duces tecum requires the production of the documents described in the

subpoena attachment at the offices of Royer Law Firm, P.C. at P.O. Box 4525 Roanoke, Virginia

24015.

         Dated: October 19, 2020

                                                    MATTHEW S. HAAS

                                                      /s/ Jennifer D. Royer
                                                    Jennifer D. Royer, VSB # 68099
                                                    ROYER LAW FIRM, P.C.
                                                    Post Office Box 4525
                                                    Roanoke, Virginia 24015
                                                    540-788-2982 Telephone
                                                    540-675-4093 Facsimile
                                                    jroyer@royerlawfirm.com
                                                    Counsel for defendant
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 19th day of October, 2020, I have electronically filed this
document with the Clerk of the Court using the CM/ECF system, which will send notification of
such filing to the following:

Jeffrey R. Adams
Lucas I. Pangle
Wharton, Aldhizer & Weaver, PLC
125 S. Augusta Street
Staunton, Virginia 24401


                                                           MATTHEW S. HAAS

                                                            /s/ Jennifer D. Royer
                                                           Jennifer D. Royer, VSB # 68099
                                                           ROYER LAW FIRM, P.C.
                                                           PO Box 4525
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                                                           540-788-2982 Telephone
                                                           540-675-4093 Facsimile
                                                           jroyer@royerlawfirm.com
                                                           Counsel for defendant




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